                  Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 1 of 23
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                                      IN THE UNITED STATES DISTRICT COURT

                                        DISTRICT OF UTAH, CENTRAL DIVISION


             UNITED STATES OF AMERICA,                                 Case No. 2:19cr 80

                                     Plaintiff,                                 SUPERSEDING
                                                                                INDICTMENT
                     vs.
                                                                       Vio. 18 U.S.C. § 157, Bankruptcy Fraud
                                                                       (Counts 1, 7 and 8); 18 U.S.C. § 1519,
             RALPH DAVID BRINTON,                                      False Bankruptcy Document (Counts 2, 4
                                                                       and 9); 18 U.S.C. § 152(3), False
                                     Defendant.                        Bankruptcy Declaration (Counts 3, 5 and
                                                                       10); 18 U.S.C. § 371, Conspiracy (Count
                                                                       6); Fraudulent Transfer and Concealment,
                                                                       18 U.S.C. § 152(7) (Count 11); 18 U.S.C.
                                                                       § 1028A, Aggravated Identity Theft
                                                                       (Count 12); False Banlauptcy Oath, 18
                                                                       U.S.C. § 152(2) (Count 13); and 18 U.S.C.
                                                                       § 2, Aiding and Abetting

                                                                       Judge Howard C. Nielson



              The Grand Jury charges:

                                                    The Banlauptcy Process

                     1.      A voluntary banlauptcy case is begun by the filing of a banlauptcy petition, and

              the person who files that petition is a "debtor" under federal banlauptcy law. The process is

              conducted in a federal court and is governed by the United States Banlauptcy Code, which is
     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 2 of 23




found in Title 11 of the United States Code.

       2.      Upon the filing of a bankruptcy petition, a debtor is required by law to fully

disclose his or her financial circumstances, including, among other things, assets, liabilities,

income from prior years, and any anticipated increase in income. Assets include real, personal,

tangible and intangible property, whether or not the asset is held in the debtor's name or held in

the name of another person or entity on behalf of the debtor. A bankruptcy "estate" is created

upon the filing of a bankruptcy petition, which is a collective reference to all legal or equitable

interests of the debtor in property at the time of the bankruptcy filing. The estate includes all

property in which the debtor has an interest, even if it is owned or held by another person.

       3.      The filing of a bankruptcy petition with the United States Banlauptcy Court

automatically stays the collection activities of creditors, including the foreclosure sale of a

residence. Only after a creditor obtains relief from automatic stay from the banlauptcy court can

a creditor continue its collection actions against a debtor, including the foreclosure sale of a

residence.

        4.     The financial circumstances of the debtor are disclosed to the bankruptcy court by

the debtor in a series of banlcruptcy forms called the "Schedules of Assets and Liabilities," and

on a separate banlcruptcy form called a "Statement of Financial Affairs." The debtor is also

required to file a form called a Statement of Social Security Number containing the debtor's

Social Security Number. These forms are signed by the debtor under penalty of perjury.

        5.      The filing of a Chapter 13 petition with the United States Banlcruptcy Court

provides individual debtors with regular income to reorganize and repay their debts under a

repayment plan approved by the Court ("a Chapter 13 Plan"). Upon the filing of a Chapter 13
                                                  2
     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 3 of 23




bankruptcy petition, a Chapter 13 Trustee is appointed to administer the bankruptcy case until

the Chapter 13 Plan is completed or the bankruptcy is dismissed or converted to a Chapter 7

case. A debtor is only eligible to file a Chapter 13 petition if the debtor's unsecured debt is less

than $3 93,175 and secured debt is less than $1,149,525.

       6.      All debtors are required to attend a Section 341 Meeting of Creditors, at which

time the debtor is placed under oath by the bankruptcy trustee and questioned about his or her

financial affairs, including, but not limited to, the bankruptcy petition, the Schedules of Assets

and Liabilities, and the Statement of Financial Affairs.

                                            Background

        7.     Defendant RALPH DAVID BRINTON ("BRINTON") was a resident of Salt

Lake County, Utah living with his wife at 7762 South Forest Bend Drive ("Forest Bend

Property"), Salt Lake City, Utah.

        8.      Co~Conspirator 2 was a resident of Salt Lake County, Utah and associated with a

company known as Designer Real Estate, a foreclosure rescue company.

        9.      Co-Conspirator 3 was a residenfof Salt Lake County, Utah.

        10.     R.G.B. was a citizen of both the United States and Canada and lived in High

River, Alberta, Canada.

        Brinton I Bankruptcy Case

        12.    ·on or about November 14, 2006, defendant BRINTON purchased the Forest

Bend Property. As part of the purchase, the defendant signed a promissory note in the amount of

$1,500,000 secured by a Deed of Trust on the Forest Bend Property originally in favor of

Mortgage Electronic Registration Systems, Inc., as nominee for Countrywide Ba1tlc, N.A. The
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               Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 4 of 23

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          Note cJ,nd beneficial interest in the Deed of Trust were subsequently transferred to HSBC Bank.

          Specialized Loan Servicing LLC ("SLS") is the servicing agent for HSBC Bank.

                 13.     The defendant BRINTON defaulted under the terms of the promissory note by

          failing to make his monthly payment due on February 1, 2008 and any subsequent payment.

                 14.     Because of the default, on November 7, 2014, SLS scheduled a foreclosure sale of

          the Forest Bend Property for December 8, 2014.

                 15.     On December 5, 2014, defendant BRINTON filed a prose Chapter 13 petition in
                                           .
          the United States Bankruptcy Court for the District of Utah, Case No. 14-32784, to avoid the

          immediate foreclosure of his home (the "Brinton I Bankruptcy Case"). Upon the filing of the

          Chapter 13 petition, the automatic stay immediately stopped the foreclosure sale.

                  16.    In response to the request by the Chapter 13 petition that he identify his estimated

          liabilities, defendant BRINTON stated under penalty of perjury that his estimated liabilities were

          not more than $1,000,000.

                  17.    On December 5, 2014, the defendant BRINTON also filed his Schedule A and

          Schedule D. He represented in Schedules A and D he had secured debt of $898,000.

                  18.    On December 30, 2014, defendant BRINTON filed his Schedule Funder penalty

          of perjury listing no unsecured debt.

                  19.    On February 12,. 2015, SLS, as servicing agent for HSBC, filed a proof of claim

          in defendant BRINTON's Chapter 13 case for at least $2,000,000 with an arrearage of at least

          $700,000. Defendant BRINTON did not object to this claim.

                  20.    On July 7, 2015, James Wulfenstein, Wulfenstein Construction, Inc., and Wade

          Frey ( collectively "Wulfenstein") filed an unsecured proof of claim in defendant BRINTON' s

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     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 5 of 23




Chapter 13 case for $2,505,767. 29. Defendant BRINTON failed to list Wulfenstein as an

unsecured creditor on Schedule F.

       21.     On March 17, 2015, in response to a motion to dismiss his case, defendant

BRINTON filed an objection stating "I found out I needed to be under Chapter 11 and not a 13

because of the debt amount. So the facts. that are raised to dismiss were raised at the 341 meeting

on February 17."

       22.     On April 4, 2015, in response to a motion for relief from the automatic stay,

defendant BRINTON filed an objection stating that he "does not dispute that there is a debt

obligation owed to someone" but that he disputes that "the obligation" is owed to SLS.

       23.     On July 7, 2015, the defendant requested at a hearing before the bankruptcy court

that his Chapter 13 case be dismissed. His case was disinissed on July 13, 2015.

       Brinton II Bankruptcy Case

       24.     On August 9, 2016, SLS scheduled a foreclosure sale of the Forest Bend Property

for September 9, 2016.

       25.     On September 8, 2016, defendant BRINTON filed a pro se Chapter 13 petition in

the United States Bankruptcy Court for the District of Utah, Case No. 16-27945, to avoid the

immediate foreclosure of his home (the "Brinton II Bankruptcy Case"). Upon the filing of the

Chapter 13 petition, the automatic stay immediately stopped the foreclosure sale.

        26.    In response to question 20 of the Chapter 13 petition, defendant BRINTON stated

under penalty of perjury that his estimated liabilities were not more than $1,000,000.

        27.    On September 22, 2016, defendant BRINTON filed his Schedules of Assets and

Liabilities under penalty of perjury. He represented in Schedule D - Creditors Who Have
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        Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 6 of 23




Claims Secured by Property, he had $2,100,000 of secured debt and in Part 2 of Schedule E/F he

had no creditors with unsecured claims.

         28.    But on July 7, 2015, Wulfenstein had filed an unsecured proof of claim in

defendant 2014 BRINTON's Chapter 13 case for $2,563,030.33. Defendant BRINTON failed to

list Wulfenstein as an unsecured creditor in Part 2 of Schedule E/F of the Brinton II bankruptcy

case.

         29.    On February 1, 2017, the Court, after notice and hearing, converted defendant

BRINTON's case to a case under Chapter 7.

         30.    On February 15, 2017, SLS, as servicing agent for HSBC, obtained relief from the

automatic stay to foreclose the Forest Bend Property.

          31.   On March 8, 2017, SLS scheduled a foreclosure sale for the Forest Bend Property

for April 1O., 2017.

          32.   On April 6, 2017, defendant BRINTON filed a civil complaint in the Third

District Court for the State of Utah, Ralph D: Brinton v. Specialized Loan Servicing, LLC, et. at,

Case No. 170902244, ("State Court Case"), and obtained a temporary restraining order, stopping

the foreclosure sale of the Forest Bend Property. On April 21, 2017, the state court dissolved the

temporary restraining order.

          33.   The foreclosure sale of the Forest Bend Property was subsequently rescheduled

for April 24, 2017.

                                      The Scheme to Defraud

          34.   Beginning on or before September 2016 and continuing through May 2017,

defendant Brinton, devised, intended to devise, and participated in a scheme to defraud the
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              Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 7 of 23

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         bankruptcy court, the bankruptcy trustee and his creditors through banlauptcy proceedings under

         11, United States Code.

                35.       It was part of the scheme that defendant filed, or caused others to file, on or about

         September 22, 2016, a pro se Chapter 13 petition and a Statement of Assets and Liabilities in the

         Brinton II Banlcruptcy Case for the purpose of invoking the automatic stay and thereby

         hindering, delaying and obstructing the lawful foreclosure by the mortgage holder of his

         residence, knowing he was not eligible to file a Chapter 13 petition.

                36.       After the restraining order in the State Court Case was dissolved, it was part of the

         scheme that defendant BRINTON transferred by Quit Claim Deed his interest in the Forest Bend

         property to himself and R.G.B. as tenants in common for no consideration without the

         knowledge ofR.G.B. for the purpose of filing bankruptcy in the name ofR.G.B., thereby

         improperly attempting to invoke the automatic stay to prevent the foreclosure sale of the Forest

         Bend Property.

                                           Brinton II Bankruptcy Case

                                                      COUNT 1
                                                    18 u.s.c. § 157
                                                  (Bankruptcy Fraud)

                 37.      The grand jury incorporates by reference paragraphs 1 through 36 as if fully

         stated herein.

                 38.      On or before September 8, 2016, and continuing through May 2017, in the Central

         Division of the District of Utah,

                                             RALPH DAVID BRINTON,

         the defendant herein, and others known and unlmown to the grand jury, for the purpose of
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     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 8 of 23




executing and concealing (and attempting to execute and conceal) the above-described scheme

and artifice to defraud, fil~d, in the United States Bankruptcy Court a (i) fraudulent Chapter 13

petition and (ii) Schedules of Assets and Liabilities under Title 11 in the Brinton II Bankruptcy

Case, Case Number 16-27945.

All in violation of 18 U.S.C. §§ 157(1), (2) and (3) and 18 U.S.C. § 2.

                                            COUNT2
                                         18 u.s.c. § 1519
                                  (False Bankruptcy Document)

        39.      The grand jury incorporates by reference paragraphs 1 through 38 as if fully

stated herein.

        40.      On or about September 8, 2016, in the Central Division of the District of Utah,

and elsewhere,

                                   RALPH DAVID BRINTON,

the defendant herein, knowingly falsified a document with the intent to impede, obstruct and

influence a case filed under Title 11, by filing and causing to be filed the following:

        a.       A Chapter 13 petition in the Brinton II Bankruptcy Case in which the defendant

fraudulently stated in response to Question 20 his estimated total liabilities were more than

$500,000 but less than $1,000,000, when in fact the defendant knew his total liabilities were

more than $1,000,000.

All in violation of 18 U.S.C. §§ 1519 and 2.

                                             COUNT3
                                         18 u.s.c. § 152(3)
                                  (False Bankruptcy Declaration)

        41.      The grand jury incorporates by reference paragraphs 1 through 40 as if fully

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     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 9 of 23




stated herein.

        42;      On or about September 8, 2016, in the Central Division of the District of Utah,

and elsewhere,

                                   RALPH DAVID BRINTON,

the defendant herein, knowingly and fraudulently ma~e a material false declaration and

statement under the penalty of perjury as permitted under section 1746 of Title 28 in and in

relation to a case under Title 11, the Brinton II Bankruptcy Case, by filing and causing to be filed

the following documents:

        a.       A Chapter 13 petition in the Brinton II Bankruptcy Case in which the defendant

 fraudulently stated in response to Question 20 his estimated total liabilities were more than

 $500,000 but less than $1,000,000, when in fact the defendant knew his total liabilities were

 more than $1,000,000.

All in violation of 18 U.S.C. §§ 152(3) and 2.

                                            COUNT4
                                         18 u.s.c. § 1519
                                  (False Bankruptcy Document)

        43.      The grand jury incorporates by reference paragraphs 1 through 42 as if fully

stated herein.

        44.      On or about September 22, 2016, in the Central Division of the District of Utah,

and elsewhere,

                                   RALPH DAVID BRINTON,

the defendant herein, knowingly falsified a document with the intent to impede, obstruct c1;nd

influence a case filed under Title 1 f, by filing and causing to be filed the following:

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    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 10 of 23




       a.        A Schedule E/F in which the defendant fraudulently failed to disclose any of his

nonpriority unsecured debt on Part 2 of Schedule E/F when in fact Ralph David Brinton had

nonpriority unsecured debt of more than $2 million.

All in violation of 18 U.S.C. §§ 1519 and 2.

                                             COUNTS
                                         18 u.s.c. § 152(3)
                                  (False Bankruptcy Declaration)

        45.      The grand jury incorporates by reference paragraphs 1 through 44 as if fully

stated herein.

        46.      On or about September 22, 2016, in the Central Division of the District of Utah,

and elsewhere,

                                   RALPH DAVID BRINTON,

the defendant herein, knowingly and fraudulently made a material false declaration and

statement under the penalty of perjury as permitted under section 1746 of Title 28 in and in

relation to a case tmder Title 11, the Brinton II Bankruptcy Case, by filing and causing to be filed.

the following documents:

        a.       A Schedule E/F in which the defendant fraudulently failed to disclose any of his

nonpriority unsecured debt on Part 2 of Schedule E/F when in fact Ralph David Brinton had

nonpriority unsecured debt of more than $2 million.

All in violation of 18 U.S.C. §§ 152(3) and 2.

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    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 11 of 23




                                   R.G.B. Bankruptcy Case

                                            COUNT6
                                          18 u.s.c. § 371
                                           (Conspiracy)

                                       THE CONSPIRACY

       49.       The grand jury incorporates by reference paragraphs 1 through 48 as if fully

stated herein.

        50.      Sometime prior to April 22, 2017 through on or about May 2017, within the

Central Division of the District of Utah, and elsewhere,

                                   RALPH DAVID BRINTON,

defendant herein, and others known and unlmown to the grand jury, did lmowingly combine,

conspire, confederate, and agree together to commit one or more of the offenses against the

United States, that is:

        A. Violations of 18 U.S.C. §§157 (Banlcruptcy Fraud); 1519 (False Banlcruptcy
           Document), 152(3) (False Banlcruptcy Declaration), 152(7) (Fraudulent Transfer and
           Concealment) and 1028A (Aggravated Identity Theft)

All in violation of 18 U.S.C. § 371.

                               OBJECTS OF THE CONSPIRACY

        51.      The object of the conspiracy and scheme was to devise and participate in a

scheme to defraud the bankruptcy court, the banlcruptcy trustee and creditors through banlcruptcy

proceedings under 11, United States Code, by filing banlcruptcy in the name of a nominee for the

purpose of invoking the automatic stay to hinder, delay and obstruct the lawful foreclosure of

defendant BRINTON's home by the mortgage holder.

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        Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 12 of 23




                                       MANNER AND MEANS

           52.      It was part of the conspiracy and scheme for defendant BRINTON, Co-

Conspirator 2 and Co-Conspirator 3 to fraudulently recruit R.G.B. to file bankruptcy as a

nominee for defendant BRINTON in the United States Bankruptcy Court for the District of Utah

for the benefit of defendant BRINTON to save his Forest Bend Property from foreclosure.

           53.     It was further part of the conspiracy and scheme for defendant BRINTON, Co-

    Conspirator 2 and Co-Conspirator 3 for defendant BRINTON to fraudulently transfer an interest
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    in his Forest Bend Property to R.G.B. just before the bankruptcy filing so the Forest Bend

    Property would be property of the bankruptcy estate ofR.G.B. and protected from foreclosure by

the bankruptcy automatic stay.

           54.     It was further part of the conspiracy and scheme for defendant BRINTON, Co-

    Conspirator 2 and Co-Conspirator 3 to prepare and sign, without R.G.B.'s permission and

    authority, R.G.B.'s name to the bankruptcy documents - Chapter 13 petition, Schedule of Assets

    and Liabilities, Chapter 13 plan, Statement of Social Security Number, Application to Pay Filing

    Fee in Installments and Certification of Counseling -- required to be filed with the bankruptcy

    court when filing a Chapter 13 case.

            55.    It was further part of the conspiracy and scheme for defendant BRINTON, Co-

    Conspirator 2 and Co-Conspirator 3 to misrepresent to the bankruptcy court, chapter 13 trustee

    and creditors that R.G.B was eligible to file bankruptcy in the United States Bankruptcy Court

    for the District of Utah.

            56.     It was further part of the conspiracy and scheme for defendant BRINTON, Co-

    Conspirator 2 and Co-Conspirator 3 to file and cause to be filed bankruptcy documents
                                                    12
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 13 of 23




containing materially false information about R.G.B.

       57.     It was further part of the conspiracy and scheme for defendant BRINTON and

Co-Conspirator 2 for Co-Conspirator,3 to fraudulently pose as R.G.B. when taking an approved

credit counseling course before filing bankruptcy.

                                         OVERT ACTS

       58.     In furtherance of this conspiracy and scheme and to effect and accomplish the

objects of it, one or more of the defendants or conspirators, both indicted and unindicted,

committed, among others, the following overt acts in the District of Utah and elsewhere:

       59.     Each of the acts and events set forth in paragraphs 1 through 57 of this

Superseding Indictment individually constitute an overt act in furtherance of the conspiracy and

scheme.

       60.     Sometime prior to April 22, 2017, defendant BRINTON and Co-Conspirator 3

met R.G.B. and defendant BRINTON offered to transfer to R.G.B. an interest in the Forest Bend

Property to him by Quit Claim Deed ifR.G.B. would agree to make the mortgage payments

because defendant BRINTON could no longer make the mortgage payments.

       61.     Defendant BRINTON falsely represented to R.G.B. that the mortgage company

would require his financial information and Social Security Number in order for him to take over

the mortgage payments on the Forest Bend Property. In response, R.G.B. provided his financial

information to defendant BRINTON and Co-Conspirator 3.

        62.    On April 22, 2017 at 8:31 a.m., defendant BRINTON texted R.G.B. telling

R.G.B. that Co-Conspirator 3 needed R.G.B. 's Social Security Number to prepare the documents

for the mortgage company. In response, R.G.B. sent a picture of his Social Security Card

                                                 13
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 14 of 23




containing his signature to defendant BRINTON. Defendant BRINTON told R.G.B. he would

provide the Social Security Number to Co-Conspirator 3.

       63.    On April 22, 2017, Co-Conspirator 3, at the direction of defendant BRINTON,

met with R.G.B. at a construction job site in Day Break, Salt Lake City, Utah to have R.G.B.

sing documents. R.G.B. believed he was signing documents related to taking over the mortgage

payments for the benefit of defendant BRINTON. But instead Co-Conspirator 3 gave him a

Chapter 13 petition and a Statement of Social Security Number.

       64.     On April 22, 2017 at 4:48 p.m., defendant Co-Conspirator 2 emailed defendant

BRINTON asking the following bankruptcy questions:

               1. Need credit report so I can see creditors. Go to
                  www.annualcredit.report.com to download them
               2. Need all assets (clothes, beds, cars, tvs, kitchen table, and values for
                  each)
               3. Need real property owned (all homes)
               4. Need financial budget (income and expenses each month)
               5. Need all creditors not on credit report
               6. Helpful to see income taxes last two years

       65.     On April 22, 2017 at 6:12 p.m., defendant BRINTON emailed R.G.B. the

following:

               R[ ],

               Here is the list of questions that ... [Co-Conspirator 2] is going to call you
               on. We were just going to file a preliminary bk but want to go further
               because of the attitude of the lender. Peter will be calling you to discuss
               the questions below, he is a good man ..

               His number is 801-671-8915 so you will recognize it.

               Thanks for your help.

               Ralph
                                                 14
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 15 of 23




       66.     On or about April 24, 2017 at 8:07 a.m., defendant BRINTON recorded and

caused to be recorded a Quit Claim Deed in the Salt Lake County Recorder's Office, transferring

the Forest Bend Property to himself and R.G.B. as tenants in common for no consideration.

R.G.B. was unaware the defendant had executed or recorded the Quit Claim Deed.

       67.     On April 24, 2017 beginning at 3:32 p.m., without the authority, permission and

signature ofR.G.B., defendant BRINTON filed and caused to be file with the United States

Bankruptcy Court in the District of Utah in the nominee name ofR.G.B. the following

documents:

       a.      Chapter 13 petition;

       b.      Schedule of Assets and Liabilities;

       c.      Statement of Social Security Number;

       d.      Chapter 13 plan;

       e.      Application to Pay Filing Fee in Installments; and

       f.      Certification of Counseling

       68.     The Chapter 13 petition falsely represented that (a) R.G.B. lived at 7762 South

Forest Bend Drive, Salt Lake City, Utah 84121, (b) "[o]ver the last 180 days ... [R.G.B. had]

lived in [the District of Utah] ... longer than in atiy other district," and (c) R.G.B. had received

credit c0tmseling from an approved credit counseling agency within 180 days before filing

bankruptcy and had received a certificate of completion.

       69.     The Chapter 13 plan falsely represented that R.G.B. intended to make monthly

payments tmder a Chapter 13 Plan to repay his creditors.


                                                  15
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 16 of 23




       70.       The Application to Pay the Filing Fee in Installments falsely representing that

R.G.B. needed to pay the bankruptcy filing fee in installments.

       71.       The Certificate of Counseling falsely represented that R. G.B. had received credit

counseling from an approved credit counseling agency within 180 days before filing banlauptcy.

       72.       On May 5, 2017, after the filing of the Brinton II Banlauptcy Case, defendant

BRINTON falsely testified under oath at his continued first meeting of creditors in Case No. 16-

27945, that R.G.B. had agreed to file a Chapter 13 case to stop the foreclosure of the Forest Bend

Property.

                                            COUNT7
                                          18 u.s.c. § 157
                                        (Bankruptcy Fraud)

       73.       The grand jury incorporates by reference paragraphs 1 through 72 as if fully

stated herein.

        74.      On or before April 2017, and continuing through June 2017, in the Central

Division of the District of Utah, and elsewhere,

                                    RALPH DAVID BRINTON,

the defendant herein, and others known and unlmown to the grand jury, for the purpose of

executing and concealing (and attempting to execute and conceal) the above-described scheme

and artifice to defraud, by filing or causing to be filed the following documents without R.G.B.'s

permission, authority and signature:

        a. A Chapter 13 petition;

        b. Schedule of Assets and Liabilities;

        c. Chapter 13 plan;
                                                   16
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 17 of 23




       d. Application to Pay Filing Fee in Installments;

       e. Statement of Social Security Number; and

       f.      Certificate of Counseling.

All in violation of 18 U.S.C. §§ 157(1), (2) and (3) and 18 U.S.C. § 2.

                                                COUNTS
                                              18 u.s.c. § 157
                                            (Bankruptcy Fraud)

        75.       The grand jury incorporates by reference paragraphs 1 through 74 as if fully

stated herein.

        76.        On or before April 2017, and continuing through June 2017, in the Central

Division of the District of Utah, and elsewhere,

                                     RALPH DAVID BRINTON,

the defendant herein, and others known and unknown to the grand jury, for the purpose of

executing and concealing (and attempting to execute and conceal) the above-described scheme and

artifice to defraud, by filing or causing to be filed the following false documents:

          a.       A Chapter 13 petition in which the defendant knowingly and fraudulently stated

that R.G.B. (i) lived at 7762 South Forest Bend Drive, Salt Lake City, Utah in response to

Question 5, (ii) lived longer in the District of Utah over the last 180 days than in any other

district in response to Question 6; (iii) had receive~ credit counseling from an approved credit

counseling agency within 180 days before filing bankruptcy in response to question 15 when ih

fact R.G.B. (iv) did not live at Forest Bend Drive, (v) did not live longer in the District of Utah

over the last 180 days than in any other district and (vi) had not taken any credit counseling

course;

                                                    17
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 18 of 23




       b.        Chapter 13 Plan falsely representing that R.G.B. intended to make payments

under a Chapter 13 Plan when in fact R.G.B. never intended to make any payments under a

Chapter 13 plan; and

       c.        An Application to Pay Filing Fee in Installments falsely representing that R.G.B.

needed to pay the bankruptcy filing fee in installments when in fact R.G.B. had the ability to pay

the filing fee when the Chapter 13 petition was filed.

All in violation of 18 U.S.C. §§ 157(1), (2) and (3) and 18 U.S.C. § 2.

                                              COUNT9
                                           18 u.s.c. § 1519
                                    (False Bankruptcy Document)

       77.       The grand jury incorporates by reference paragraphs 1 through 76 as if fully

stated herein.

        78.      On or about April 24, 2017, in the Central Division of the District of Utah, and

elsewhere,

                                    RALPH DAVID BRINTON,

the defendant herein, and others known and unknown to the grand jury, with the intent to

impede, obstruct and influence a case filed under Title 11 by filing and causing to be filed in the

R.G.B Bankruptcy Case, Case Number 17-XXX52, without the permission, authority and

signature ofR.G.B, the following false documents:

        a.       Chapter 13 petition;

        b.       Schedule of Assets and Liabilities;

            c.   Statement of Social Security Number;

        d.       Chapter 13 Plan;
                                                  18
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 19 of 23




       e.        Application to Pay Filing Fee in Installments; and

       f.        Certificate of Counseling

All in violation of 18 U.S.C. §§ 1519 and 2.

                                            COUNT 10
                                         18 u.s.c. § 152(3)
                                  (False Bankruptcy Declaration)

       79.       The grand jury incorporates by ,reference paragraphs 1 through 78 as if fully

stated herein.

        80.      On or about April 24, 2017, in the Central Division of the District of Utah, and

elsewhere,

                                    RALPH DAVID BRINTON,

the defendant herein, and others known and unknown to the grand jury, knowingly and

fraudulently made a material false declaration and statement under the penalty of perjury as

permitted under section 1746 of Title 28 in and in relation to a case under Title 11, In re R. G.B.,

Case No. 17-XXX52, by filing and causing to be filed the following documents:

        a.       A Chapter 13 petition in which the defendant knowingly and fraudulently stated

that R.G.B. (i) lived at 7762 South Forest Bend Drive, Salt Lake City, Utah in response to

Question 5; (ii) lived longer in the District of Utah over the last 180 days than in any other

district in response to Question 6; and (iii) had participated in credit counseling course from an

approved credit counseling agency within 180 days before filing bankruptcy in response to

Question 15.

        Defendant made the foregoing declarations knowing full well the following:

              (i) R.G.B. did not live at the Forest Bend Drive address;

                                                  19
             Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 20 of 23

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                       (ii) R.G.B. had not live longer in the District of Utah over the last 180 days than in

         any other district; and

                       (iii) R.G.B. had not participated in any credit counseling course from an approved

         credit counseling agency within 180 days before filing bankruptcy.

         All in violation of 18 U.S.C. §§ 152(3) and 2.

                                                    COUNT 11
                                                 18 u.s.c. § 152(7)
                                       (Fraudulent Transfer and Concealment)

                 81.       The grand jury incorporates by reference paragraphs 1 through 80 as if fully

         stated herein.

                 82.       On or about April 24, 2017, in the Central Division of the District of Utah, and

         elsewhere,

                                              RALPH DAVID BRINTON,

         the defendant herein, and others known and unknown to the grand jury, with the intent to defeat

         the provisions of Title 11, United States Code, did knowingly and fraudulently transfer and

         conceal by transferring a tenant in common interest in the Forest Bend Property by Quit Claim

         Deed to R.G.B.

         All in violation of 18 U.S.C. § 152(7).

                                                      COUNT 12
                                                18 U.S.C. § 1028A(a)(1)
                                              (Aggravated Identity Theft)

                 83.       The grand jury incorporates by reference paragraphs 1 through 82 as if fully

         stated herein.

                 84.       On or about April 24, 2017, in the Central Division of the District of Utah,
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    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 21 of 23




                                   RALPH DAVID BRINTON,

the defendant herein, and others known and unknown to the grand jury, did knowingly possess

and use, without lawful authority, a means of identification of another person during and in

relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), to wit: Conspiracy in

violation of 18 U.S.C. 371 to commit Bankruptcy Fraud in violation of 18 U.S.C. § 157 and

False Bankruptcy Documents in violation of 18 U.S.C. § 1519 as set forth in Count 6;

Bankruptcy Fraud in violation of 18 U.S.C. §§ 157(1), (2), and (3) as set forth in Count 7; and

False Bankruptcy Documents in violation of 18 U.S.C. § 1519 as set forth in Count 9, knowing

that the means of identification belonged to another actual person.

All in violation of 18 U.S.C. §§ 1028A(a)(l) and 2.

                                            COUNT 13
                                        18 u.s.c. § 152(2)
                                     (False Bankruptcy Oath)

        85.      The grand jury incorporates by reference paragraphs 1 through 83 as if fully

stated herein.

        86.      On or about May 4, 2017, in the Central Division of the District of Utah,

                                   RALPH DAVID BRINTON,

defendant herein, lmowingly and fraudulently made a material false statement under oath in and

in relation to a case under Title 11, Case No. 16-29472, by falsely testifying under oath in a

proceeding before the case trustee at a continued meeting of creditors as underscored below:

        Ralph Brinton: Then I filed a - another banlauptcy case with a friend of mine, and put

the property in tenants in common.

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                                                 21
    Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 22 of 23




       Ms. Hunt: And Mr. Blum filed a Chapter 137

       Ralph Brinton:   li
       Trustee: What - you transferred an interest in the property to Mr. Blum. What did he

give you in consideration?

       Ralph Brinton: Nothing.

       Ms. Hunt: Is this the 13 filed in this -- in the District of Utah?

       Ralph Brinton: Yes.

       Ms. Hunt: And what's - so you gave him a half interest in this house that you claim is

worth $980,000, and he gave you nothing for that?

       Ralph Brinton: That's correct.

       Ms. Hunt: Why, why did he do that?

       Ralph Brinton: I was trying to stop the foreclosure.

       Ms. Hunt: Why did- okay. Why did he agree to do that?

       Brinton: I asked him and he said he'd do it.

Defendant made the foregoing false declaration knowing full well that R.G.B. had not agreed to

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     Case 2:19-cr-00080-HCN-EJF Document 56-1 Filed 09/26/19 Page 23 of 23




 file his own personal Chapter 13 bankruptcy case.

 All in violation of 18 U.S.C. § 152(2).

                                             A TRUE BILL:




  JOHN W. HUBER
                                                       lb\
                                             FOREPERSON OF T   .

· United States Attorney



 CYH~TLE
 Assistant United States Attorneys
 PETER KUHN
 Special Assistant United States Attorney




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